Case 1:19-cv-00520-JAW Document 16 Filed 12/19/19 Page 1 of 8                     PageID #: 44




                            UNITED STATES DISTRICT COURT
                                    District of Maine


                                                    )
 PAULA J. GAGNON as guardian and                    )   Docket No. 1:19-CV-00520-JAW
 conservator of PAUL G. GAGNON,                     )
                     Plaintiff                      )
                                                    )
 v.                                                 )
                                                    )
 KENNEBEC COUNTY, KENNEBEC                          )
 COUNTY SHERIFF’S OFFICE, L.                        )
 KENNETH MASON, LAWRENCE                            )
 PEABODY, GAVIN LACHANCE, KIRBY                     )
 BRADBURN, LEUCIO PACELLI, and
 MICHAEL DUMONT,                                    )
                 Defendants                         )
                                                    )


             ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS


       NOW COME Defendants, by and through undersigned counsel, and hereby respond to the

allegations contained in Plaintiff’s Complaint as follows:

                                 AFFIRMATIVE DEFENSES

       A. Plaintiff’s Complaint fails to state a cause of action upon which relief may be granted.

       B.   Defendants, in their individual capacities, are entitled to qualified immunity on

Plaintiff=s claims brought pursuant to 42 U.S.C. ' 1983.

       C. Defendants, in their official capacities, are immune from any claims brought under the

Maine Tort Claims Act.

       D. Defendants, in their individual capacities, are entitled to immunity from any claims

brought under the Maine Tort Claims Act pursuant to the provisions of 14 M.R.S. ' 8111.

                                                1
Case 1:19-cv-00520-JAW Document 16 Filed 12/19/19 Page 2 of 8                       PageID #: 45




        E. Any damages sustained by Plaintiff were caused by the acts and/or omissions of an

individual and/or entity other than Defendants.

        F. Plaintiff’s damages, if any, were directly and proximately caused by a legally sufficient

superseding/intervening cause.

        G. Plaintiff has failed to mitigate the damages as required by law.

        H. Plaintiff’s Complaint is barred because Paul Gagnon was negligent in an amount equal

to or greater than any negligence of Defendants, and Plaintiff’s damages must be reduced by an

amount commensurate with Paul Gagnon=s own negligence.

        I. Plaintiff’s Complaint is barred for failure to comply with conditions precedent to the

maintenance of this lawsuit, including, without limitation, the notice requirements of 14 M.R.S. '

8107.

        J. The Kennebec County Sheriff’s Office is not an entity that can be sued.

                                            ANSWER

        1-3. Defendants are without sufficient knowledge or information so as to form a belief as

to the truth of the allegations contained in these paragraphs of Plaintiff’s Complaint and therefore

deny same.

        4. Defendants admit the allegations contained in this paragraph of Plaintiff’s Complaint.

        5. Defendants admit that Kennebec County Sheriff’s Office is and was at all times

relevant herein a department of the government of the County which operates the Kennebec

County Correctional Facility.     Defendants deny the remaining allegations contained in this

paragraph of Plaintiff’s Complaint.


                                                  2
Case 1:19-cv-00520-JAW Document 16 Filed 12/19/19 Page 3 of 8                    PageID #: 46




       6. Defendants admit that Defendant L. Kenneth Mason is the Sheriff of Kennebec County.

Defendants are without sufficient knowledge or information so as to form a belief as to the truth

of the remaining allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       7. Defendants admit that Lawrence Peabody is employed as a Corrections Officer by the

Sheriff’s Office. Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the remaining allegations contained in this paragraph of Plaintiff’s

Complaint and therefore deny same.

       8. Defendants admit that Gavin Lachance is employed as a Corrections Officer by the

Sheriff’s Office. Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the remaining allegations contained in this paragraph of Plaintiff’s

Complaint and therefore deny same.

       9. Defendants admit that Kirby Bradburn is employed as a Corrections Officer by the

Sheriff’s Office. Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the remaining allegations contained in this paragraph of Plaintiff’s

Complaint and therefore deny same.

       10. Defendants admit that Leucio Pacelli is employed as a Corrections Officer by the

Sheriff’s Office. Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the remaining allegations contained in this paragraph of Plaintiff’s

Complaint and therefore deny same.

       11. Defendants admit that Michael Dumont was employed as a Corrections Officer by the

Sheriff’s Office. Defendants are without sufficient knowledge or information so as to form a


                                               3
Case 1:19-cv-00520-JAW Document 16 Filed 12/19/19 Page 4 of 8                      PageID #: 47




belief as to the truth of the remaining allegations contained in this paragraph of Plaintiff’s

Complaint and therefore deny same.

       12. Defendants agree that this court has jurisdiction over these claims. Defendants deny

that they violated Mr. Gagnon’s constitutional rights.        Defendants are without sufficient

knowledge or information so as to form a belief as to the truth of the remaining allegations

contained in this paragraph of Plaintiff’s Complaint and therefore deny same.

       13. The allegations contained in this paragraph of Plaintiff’s Complaint do not require a

response. To the extent a response is required, Defendants agree that this court has jurisdiction

and supplemental jurisdiction over these claims.

       14. The allegations contained in this paragraph of Plaintiff’s Complaint do not require a

response. To the extent a response is required, Defendants agree that venue is proper in the United

States District Court for the District of Maine.

                                              FACTS

       15. Defendants admit the allegations contained in this paragraph of Plaintiff’s Complaint.

       16. Defendants are without sufficient knowledge or information so as to form a belief as

to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       17. Defendants deny the allegations contained in this paragraph of Plaintiff’s Complaint.

       18-19. Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in these paragraphs of Plaintiff’s Complaint and

therefore deny same.




                                                   4
Case 1:19-cv-00520-JAW Document 16 Filed 12/19/19 Page 5 of 8                       PageID #: 48




        20. Defendants admit that at approximately 5:20 in the morning on November 18, 2017,

it was discovered that Mr. Gagnon was unresponsive. Defendants are without sufficient knowledge

or information so as to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiff’s Complaint and therefore deny same.

        21-24. Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in these paragraphs of Plaintiff’s Complaint and

therefore deny same.

        25-31.    Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

                                            COUNT I
                 Violations of Eighth Amendment to the United States Constitution
                         Cruel and Unusual Punishment (42 U.S.C. § 1983)

        32. Defendants repeat their responses to Paragraphs 1 through and including 31 of

Plaintiff’s Complaint as if fully set forth herein.

        33-39.    Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

                                          COUNT II
              Violations of Fourteenth Amendment to the United States Constitution
                                 Due Process (42 U.S.C. § 1983)

        40. Defendants repeat their responses to Paragraphs 1 through and including 39 of

Plaintiff’s Complaint as if fully set forth herein.

        41. Defendants are without sufficient knowledge or information so as to form a belief as

to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.


                                                      5
Case 1:19-cv-00520-JAW Document 16 Filed 12/19/19 Page 6 of 8                       PageID #: 49




        42-46.   Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

                                             COUNT III
                   Violations of Article I, Section 9 of the Maine Constitution
                        Cruel and Unusual Punishment (5 M.R.S. § 4682)

        47. Defendants repeat their responses to Paragraphs 1 through and including 46 of

Plaintiff’s Complaint as if fully set forth herein.

        48-50.   Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

                                             COUNT IV
                   Violations of Article I, Section 6-A of the Maine Constitution
                                  Due Process (5 M.R.S. § 4682)

        51. Defendants repeat their responses to Paragraphs 1 through and including 50 of

Plaintiff’s Complaint as if fully set forth herein.

        52-54.   Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

                                             COUNT V
                                             Negligence

        55. Defendants repeat their responses to Paragraphs 1 through and including 54 of

Plaintiff’s Complaint as if fully set forth herein.

        56. Defendants are without sufficient knowledge or information so as to form a belief as

to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

        57-58.   Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

                                                      6
Case 1:19-cv-00520-JAW Document 16 Filed 12/19/19 Page 7 of 8                          PageID #: 50




                                             COUNT VI
                            Intentional Infliction of Emotional Distress

        59. Defendants repeat their responses to Paragraphs 1 through and including 58 of

Plaintiff’s Complaint as if fully set forth herein.

        60-63.   Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

                                            COUNT VII
                             Negligent Infliction of Emotional Distress

        64. Defendants repeat their responses to Paragraphs 1 through and including 63 of

Plaintiff’s Complaint as if fully set forth herein.

        65. Defendants are without sufficient knowledge or information so as to form a belief as

to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

        66-68.   Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

        WHEREFORE, Defendants pray for judgment in their favor against the Plaintiff on all

counts of Plaintiff’s Complaint, plus costs, interest, and attorneys fees.

Dated: December 19, 2019                                    /s/ Peter T. Machesi
                                                          Peter T. Marchesi, Esq.


                                                           /s/ Cassandra S. Shaffer
                                                          Cassandra S. Shaffer, Esq.

                                                          Wheeler & Arey, P.A.
                                                          Attorneys for Defendants
                                                          27 Temple Street
                                                          Waterville, ME 04901


                                                      7
Case 1:19-cv-00520-JAW Document 16 Filed 12/19/19 Page 8 of 8                          PageID #: 51




                            UNITED STATES DISTRICT COURT
                                    District of Maine


                                                        )
 PAULA J. GAGNON as guardian and                        )    Docket No. 1:19-CV-00520-JAW
 conservator of PAUL G. GAGNON,                         )
                     Plaintiff                          )
                                                        )
 v.                                                     )
                                                        )
 KENNEBEC COUNTY, KENNEBEC                              )
 COUNTY SHERIFF’S OFFICE, L.                            )
 KENNETH MASON, LAWRENCE                                )
 PEABODY, GAVIN LACHANCE, KIRBY                         )
 BRADBURN, LEUCIO PACELLI, and
 MICHAEL DUMONT,                                        )
                 Defendants                             )
                                                        )


                                CERTIFICATE OF SERVICE


       I, Peter T. Marchesi, hereby certify that:

       ●      Answer and Affirmative Defenses of Defendants

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              Allison A. Economy, Esq.                      aeconomy@rudmanwinchell.com
              Joshua A. Tardy, Esq.                         jtardy@rudmanwinchell.com
              Jonathan P. Hunter, Esq.                      jhunter@rudmanwinchell.com


Dated: December 19, 2019                                      /s/ Peter T. Marchesi
                                                            Peter T. Marchesi, Esq.
                                                            Wheeler & Arey, P.A.
                                                            Attorneys for Defendants
                                                            27 Temple Street
                                                            Waterville, ME 04901


                                                    8
